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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
In re:                                                         :
                                                               :
ZHANG MEDICAL P.C.                                             :   Case No. 23-10678-pb
D/B/A NEW HOPE FERTILITY CENTER,                               :
                                                               :
                                    Debtor.                    :
---------------------------------------------------------------X

                      NOTICE OF MAINTENANCE OF MECHANIC’S LIEN

        Creditor Skyland Development Corp. d/b/a Skyland Construction (“Skyland”) hereby

gives notice, pursuant to Bankruptcy Code § 546(b)(2), that is maintaining and continuing the

perfection of its mechanic’s lien, initially filed in March 2023, arising from Skyland’s

performance, prior to the April 30, 2023 petition date, of work, labor and services at real property

in which the above-referenced debtor had an interest, located at 4 Columbus Circle, 3rd Floor, New

York, New York.

        Please take notice that Skyland intends to maintain the perfection of its lien and ultimately

enforce it by filing, inter alia, a statutory extension of the lien and, if the bankruptcy case continues,

a petition to extend the lien in New York County Supreme Court.

        Nothing herein can or shall be construed as a waiver of Skyland’s rights, all of which are

expressly reserved.

Dated: New York, New York
       September 3, 2023
                                                                   GOETZ FITZPATRICK LLP

                                                                   By: /s/Scott D. Simon
                                                                           Scott D. Simon
                                                                   One Penn Plaza, 31st Floor
                                                                   New York, New York 10119
                                                                   212-695-8100




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